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UNITED STATES JUDICIAL PANEL

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is FEB MULTIDISTRICT LITIGATION

IN RE: COMMUNITY HEALTH SYSTEMS, INC.,

CUSTOMER DATA SECURITY BREACH
LITIGATION MDL No. 2595

(SEE ATTACHED SCHEDULE)
CONDITIONAL TRANSFER ORDER (CTO —1)

On February 4, 2015, the Panel transferred 4 civil action(s) to the United States District Court for
the Northern District of Alabama for coordinated or consolidated pretrial proceedings pursuant to 28
U.S.C. § 1407. See F.Supp.3d_ (J.P.M.L. 2015). Since that time, no additional action(s) have been
transferred to the Northern District of Alabama. With the consent of that court, all such actions have
been assigned to the Honorable Karon O. Bowdre.

It appears that the action(s) on this conditional transfer order involve questions of fact that are
common to the actions previously transferred to the Northern District of Alabama and assigned to
Judge Bowdre.

Pursuant to Rule 7.1 of the Rules of Procedure of the United States Judicial Fanel on Multidistrict
Litigation, the action(s) on the attached schedule are transferred under 28 U. ae 38 1407 to the
Northern District of Alabama for the reasons stated in the order of F ebruary 4, 2015, and, with the
consent of that court, assigned to the Honorable Karon O. Bowdre.

This order does not become effective until it is filed in the Office of the Clerk of the United States
District Court for the Northern District of Alabama. The transmittal of this order to said Clerk shall
be stayed 7 days from the entry thereof. If any party files a notice of opposition with the Clerk of the
Panel within this 7-day period, the stay will be continued until further order of the Panel.

FOR THE PANEL:

Inasmuch as no objection is |
pending at this time, the
Stay is lifted

Feb 17, 2015 | |

CLERK'S OFFICE
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Jeffery N. Liithi
Clerk of the Panel

   

 
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IN RE: COMMUNITY HEALTH SYSTEMS, INC.,
CUSTOMER DATA SECURITY BREACH
LITIGATION MDL No. 2595

SCHEDULE CTO-1 — TAG-ALONG ACTIONS

DIST DIV. CANO. CASE CAPTION

FLORIDA MIDDLE
FLM 8 1402893 Veciana v. Community Health Systems, Inc. et al

NEW MEXICO CV-15-BE-0279-s

NM + H4-01099 ServieesCorporation-etal Opposed 02/17/2015
PENNSYLVANIA EASTERN

LUTZ v. COMMUNITY HEALTH SYSTEMS, INC. et
al

CV~15-BE-0280-S

PAE 2 14-06433

TENNESSEE MIDDLE
TNM 3 15-00031 Murphy v. Community Health Systems, Inc. et al

CV-15-BE-0281-S
